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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 23-cv-01999-PAB-SKC

  ADVANCE COLORADO, a Colorado non-profit,
  GEORGE HANKS “HANK” BROWN, an individual,
  STEVEN WARD, an individual,
  CODY DAVIS, an individual,
  JERRY SONNENBERG, an individual, and
  CARRIE GEITNER, an individual,

        Plaintiffs,

  v.

  JENA GRISWOLD, in her official capacity as Secretary of State of Colorado, and
  JARED POLIS, in his official capacity as Governor of Colorado,

        Defendants.


                                     MINUTE ORDER

  Entered by Chief Judge Philip A. Brimmer

         The preliminary injunction hearing is set for Wednesday, August 30, 2023,
  beginning at 9:00 a.m. Each side will be given two hours and 15 minutes cumulatively
  to conduct both its direct examinations and cross-examinations. The Court will keep
  track of each side’s time. If, for instance, one side uses two hours and 15 minutes to
  conduct its direct examinations, it will have no time left to cross-examine the opposing
  side’s witnesses. Each side will have 20 minutes for legal argument on the preliminary
  injunction motion.

         There will be a 15-minute break at approximately 10:30 a.m. and 3:00 p.m. A
  lunch break will be taken from 12:00 p.m. until 1:15 p.m.

         The Court notes that some of the parties’ proposed testimony does not appear to
  have relevance to the issues presented in the preliminary injunction motion, including
  the proposed testimony of Michael Fields, Senator George Hanks Brown,
  Representative Chris deGruy Kennedy, and Scott Wasserman. Nevertheless, the
  parties may call these witnesses if they wish, subject to objection by the other side.

        It is therefore
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        ORDERED that the Court will hold a preliminary injunction hearing on August
  30, 2023, beginning at 9:00 a.m. It is further

           ORDERED that on or before Monday, August 28, 2023 at 5:00 p.m., the parties
  shall submit exhibit lists and witness lists, using the form found at
  http://www.cod.uscourts.gov/JudicialOfficers/ActiveArticleIIIJudges/HonPhilipABrimmer.
  It is further

         ORDERED that on or before Monday, August 28, 2023 at 5:00 p.m., the parties
  shall exchange exhibits and submit the exhibits to the Court electronically.


        DATED August 22, 2023.




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